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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK
-------------------------------------------------------------x
                                                             :
TUFAMERICA, INC.,                                            :
                                                             :   Case No. 12 CV 3529 (AJN)
                                  Plaintiff,                 :
                                                             :
                          v.                                 :
                                                             :   NOTICE OF MOTION
MICHAEL DIAMOND, ADAM HOROVITZ,                              :
and ADAM YAUCH, p/k/a BEASTIE BOYS,                          :
UNIVERSAL MUSIC PUBLISHING, INC.,                            :
UNIVERSAL MUSIC PUBLISHING GROUP, :
BROOKLYN DUST MUSIC, and CAPITOL                             :
RECORDS, LLC,                                                :
                                                             :
                                  Defendants.                :
-------------------------------------------------------------x

        PLEASE TAKE NOTICE that upon the annexed Memorandum of Law in Support of

the Beastie Boys Defendants’ Motion for Attorney’s Fees and Costs, dated April 9, 2015, the

Declaration of Theodore C. Max in support of that motion, and the exhibits annexed thereto, and

upon all the other papers and pleadings heretofore filed, defendants Michael Diamond, Adam

Horovitz, the Estate of Adam Yauch and Brooklyn Dust Music (collectively, the “Beastie Boys

Defendants”), by and through their attorneys Sheppard Mullin Richter & Hampton, LLP, hereby

move this Court before the Honorable Allison J. Nathan in the United States District Court for

the Southern District of New York, 40 Foley Square, Courtroom 906, New York, New York

10007, for an award of the Beastie Boys Defendants’ attorney’s fees and costs pursuant to

Section 505 of the Copyright Act, Rule 54 of the Federal Rules of Civil Procedure, and any other

applicable statutes and rules, together with such other and further relief as this Court may deem

just and proper.




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       PLEASE TAKE FURTHER NOTICE that opposition papers, if any, are required to be

served within 14 days after service of this motion.

Dated: New York, New York
       April 9, 2015

                                      Respectfully submitted,

                                      SHEPPARD, MULLIN, RICHTER & HAMPTON LLP

                                      By:          /s/ Theodore C. Max
                                             Theodore C. Max, Esq. (TM-1742)
                                             Kenneth B. Anderson, Esq. (KA-9923)
                                             Thomas M. Monahan, Esq. (TM-1984)
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                                             Attorneys for Defendants
                                             Michael Diamond, Adam Horovitz,
                                             the Estate of Adam Yauch, p/k/a Beastie Boys
                                             and Brooklyn Dust Music




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